Case 8:16-cr-00353-JSM-J_S Document 309 Filed 06/29/17 Page 1 of 2 PageID 1015




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                              Case No. 8:16-cr-353-T-30JSS

PETER B. WILLIAMS


                AMENDED FORFEITURE MONEY JUDGMENT

      THIS CAUSE comes before the Court upon the United States of America's

motion to reduce (Doc. 306) the amount of the Forfeiture Money Judgment to

$118,500.00 which represents the amount of proceeds obtained by Williams as a result

of the conspiracy to commit health care fraud offense.

      Being fully advised of the relevant facts, the Court finds that $118,500.00 in

proceeds was obtained by the defendant from the conspiracy to commit health care

fraud offense to which the defendant pled guilty.

      Accordingly, it is hereby:

      ORDERED, ADJUDGED, and DECREED that for good cause shown, the

United States= motion (Doc. 306) is GRANTED.

      It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 982(a)(7), and Rule

32.2(b)(2) of the Federal Rules of Criminal Procedure, the defendant shall be held

liable for a forfeiture money judgment in the amount of $118,500.00.

      It is FURTHER ORDERED that, upon entry, this order shall become a final

order of forfeiture as to the defendant.
Case 8:16-cr-00353-JSM-J_S Document 309 Filed 06/29/17 Page 2 of 2 PageID 1016




      The Court retains jurisdiction to address any third party claim that may be

asserted in these proceedings, to enter any further order necessary for the forfeiture

and disposition of such property, and for any substitute assets that the United States

may be entitled to seek up to the amount of the forfeiture money judgment.

      DONE and ORDERED in Tampa, Florida, this 29th day of June, 2017.




Copies furnished to:
Counsel/Parties of Record




                                       2
